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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ANGELA W EAVER and DOM ENICK SALVATORE,              )
derivatively, as limited partner, on                 )   2:02-cv-1719
behalf of AM D SOUTHFIELD M ICHIGAN LIM ITED         )
PARTNERSHIP, a M ichigan Limited Partnership,        )
                                     Plaintiffs,     )
                      v.                             )
                                                     )
M OBILE DIAGNOSTECH, INC., a Pennsylvania            )
Corporation; M DX CORPORATION, a Pennsylvania        )
Corporation, A. JEROM E DIGIACOBBE, JR. and          )
CALVIN F. ZONTINE, and ALPHA                         )
M EDICAL CONSULTANTS, INC.                           )
                             Defendants.             )
                                                     )



                                    ORDER OF COURT

      AND NOW, this 22ND day of August, 2014, upon consideration of the MOTION TO

ENTER CONSENT JUDGMENTS (ECF NO. 375) filed by Angela Weaver and the response

in opposition thereto filed by Defendants (ECF NO. 376), and it appearing that:

      A. This Court has retained jurisdiction to enforce the Settlement and Mutual Release
         Agreement of December 21, 2009 (“Settlement”). See Settlement §§ 7(e) and 20;
         ECF NO. 371 (Court approval of Settlement);

      B. Pursuant to the terms of the Settlement, Consent Judgments were entered in the
         Court of Common Pleas of Allegheny County, Pennsylvania in favor of Domenick
         Salvatore, Angela Weaver and Marcus & Shapira, LLP and against, inter alia, Mobile
         Diagnostech, Inc., MDX Corporation, A. Jerome DiGiacobbe, Jr. and Bonnie
         DiGiacobbe, his wife, and Calvin F. Zontine and Sandra Zontine, his wife
         (collectively, the “Co-Obligors”);

      C. The Co-Obligors have admitted that they are in default under the Settlement because
         they have failed to make the required Deferred Settlement Payments, despite notice
         of default and expiration of the cure period;

      D. The original amount of each Consent Judgment was $7,000,000, but substantial
         payments have been made such that the outstanding balance due on each Consent
         Judgment as of April 25, 2014 was $2,695,150.00, plus interest; and

      E. Plaintiffs are entitled to recover reasonable attorney fees pursuant to Settlement § 8;
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           NOW, THEREFORE, it is hereby ORDERED, ADJUDGED and DECREED that the

MOTION TO ENTER CONSENT JUDGMENTS (ECF NO. 375) is GRANTED. Consent

Judgments will be entered in favor of Domenick Salvatore, Angela Weaver and Marcus & Shapira,

LLP and against Mobile Diagnostech, Inc., MDX Corporation, A. Jerome DiGiacobbe, Jr. and

Bonnie DiGiacobbe, his wife, and Calvin F. Zontine and Sandra Zontine, his wife, in the amount of

$2,695,150.00 plus accrued and accruing interest and reasonable attorney fees.

           On or before September 19, 2014 Plaintiffs shall file their reasonable attorney fee

petition and a calculation of the total amount of the outstanding balance (including interest) as of

October 1, 2014. Defendants shall file their response, if any, on or before September 29, 2014.



                                                      BY THE COURT:


                                                      s/ Terrence F. McVerry
                                                      United States District Court Judge

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